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            IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA,             )
CALIFORNIA, COLORADO,                 )
CONNECTICUT, DELAWARE, DISTRICT       )
                                      )
OF COLUMBIA, FLORIDA, GEORGIA,        )
HAWAII, ILLINOIS, INDIANA, IOWA,      )
LOUISIANA, MARYLAND,                  )   Case No. 5:15-cv-6264-EGS
MASSACHUSETTS, MICHIGAN,              )
MINNESOTA, MONTANA, NEVADA, NEW       )   ORAL ARGUMENT REQUESTED
JERSEY, NEW MEXICO, NEW YORK,         )
NORTH CAROLINA, OKLAHOMA, RHODE       )
                                      )
ISLAND, TENNESSEE, TEXAS, VIRGINIA,   )
WISCONSIN                             )
                                      )
Ex rel. CATHLEEN FORNEY               )
                                      )
                      Plaintiffs,     )
                                      )
     vs.                              )
                                      )
MEDTRONIC, INC.,                      )
                                      )
                                      )
                      Defendant.      )

  DEFENDANT MEDTRONIC, INC.’S BRIEF IN SUPPORT OF ITS MOTION FOR
        SUMMARY JUDGMENT DUE TO PUBLIC DISCLOSURE BAR
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                                PRELIMINARY STATEMENT

       This case is ripe for summary judgment. Discovery to date has made clear that Ms.

Forney has no standing under the False Claims Act (FCA) to pursue her claims. In the interest of

justice, Medtronic asks the Court to halt discovery before the parties incur significant additional

unnecessary expense and grant summary judgment to Medtronic.

       A relator’s right to pursue FCA claims on behalf of the United States is circumscribed by

the FCA’s public disclosure bar, which bars a relator from pursuing claims when substantially

the same allegations have been publicly disclosed unless the relator qualifies as an “original

source” under the statute. Relator Cathleen Forney lacks standing under this bar. It is

undisputable that Ms. Forney’s theories in this case were publicly disclosed long before she put

pen to paper for either her original or her amended complaints. Nor did Ms. Forney provide

information to the United States that was independent of or materially added to the prior public

disclosures. As a result, Medtronic is entitled to summary judgment on all counts of Ms.

Forney’s amended complaint.

       Medtronic has moved for summary judgment on this issue now, rather than waiting until

the March 2018 scheduled deadline for summary judgment, because the public disclosure bar is

an issue of standing and, for part of Relator’s case, an issue of jurisdiction. Discovery sufficient

to evaluate Realtor’s standing has been taken, and the undisputed record makes clear that she has

no standing. Under these circumstances, Medtronic respectfully requests that the court stay

further discovery and resolve this motion so that the “just, speedy, and inexpensive” resolution of

this case may occur. See Fed R. Civ. P. 1.




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                                  FACTUAL BACKGROUND

       I.      Relator’s Theories of Liability

       Relator alleges that Medtronic violated the Anti-Kickback Statute (AKS) and caused the

submission of false claims in five ways. First, and primarily, she alleges that Medtronic

employees provided technical support after Medtronic’s pacemakers and defibrillators were

implanted, in the form of “interrogations” or “device checks” at physician’s offices and clinics.

(SAC ¶¶ 27, 29). Second, she alleges that Medtronic personnel provided technical support to

physicians during surgeries in which these were implanted. (SAC ¶ 17). Third, she alleges that

Medtronic gave reimbursement guidance to its customers. (SAC ¶ 34). Fourth, she claims that

Medtronic provided free “practice management” consulting. (SAC ¶ 37). Finally, she claims

that Medtronic personnel performed administrative work for physicians and their office staff.

(SAC ¶¶ 32-33).

       None of these allegations originated with Relator. As the timeline below illustrates, three

years before Relator first brought suit, these allegations began to be publicly disclosed with the

unsealing of a series of five qui tam complaints. These complaints allege the same theories that

Relator is pursuing here, but with detail that she does not include.

       II.     Prior Public Disclosures and Relator’s Complaints

               A.      The Burns Complaint

       On August 19, 2011, a complaint filed by a Medtronic sales representative named John

Burns in the United States District Court for the Middle District of Florida was unsealed and

became public. (Burns ECF No. 11). In his complaint, Burns alleged that, as part of scheme

dating back to 2000 and continuing to the present, “Medtronic has routinely allowed

cardiologists who implant Medtronic pacemakers and defibrillators to have those devices

rechecked for free.” (Burns Compl. ¶ 28). Burns’ theory was that these free device checks,


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which were also allegedly provided by Boston Scientific and St. Jude Medical, constituted

remuneration under the AKS because they gave physicians the opportunity to submit claims for

reimbursement for work they did not do. (Burns Compl. ¶ 28).

               B.      The Onwezen Complaint

       On December 2, 2011, an FCA complaint filed by Kathy Onwezen and two co-relators in

the United States District Court for the District of Minnesota was unsealed and became public.

(Onwezen ECF No. 53). The Onwezen complaint alleged that Medtronic’s technical support for

its implanted pacemakers and defibrillators violated the AKS. (Onwezen Compl. ¶ 8). Among

other things, they alleged that this kickback scheme, which they claimed dated back to at least

1995 and continued through the present, involved Medtronic field personnel assisting physicians

during device implantation procedures and conducting post-implantation interrogations and

device checks. (Onwezen Compl. ¶¶ 3, 54). The Relators alleged that Medtronic used these

technical support practices to induce sales, telling “doctors and hospitals that if they used a

Medtronic device, they will not have to be involved in any of the patient’s follow-up care,”

because Medtronic would do it for them. (Onwezen Compl. at ¶ 68).

       The Onwezen complaint further alleged that Medtronic personnel systematically handled

all aspects of the remote monitoring and billing processes for its customers, and handled “all of

the paper-work related to billing for implant patients.” (Onwezen Compl. at ¶¶ 78-82, 95-104).

               C.      The Stokes Complaint

        On October 24, 2013, a complaint filed in the United States District Court for the District

of Columbia by Ben Stokes, a former manager for healthcare economics for Medtronic, was

unsealed and became public. (Stokes ECF No. 18). The Stokes complaint alleged that

Medtronic, Boston Scientific, and St. Jude Medical provided post-implant technical support in

such a way that they prematurely drained the batteries of their cardiac rhythm devices. (Stokes


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Compl. ¶ 4). Stokes’ complaint describes the post-implant technical support allegedly provided

by Medtronic and its competitors in detail, claiming among other things that “device

interrogations and reprogramming are customarily performed by the device representatives

themselves, without direct physician supervision or review.” (Stokes Compl. ¶ 63).

               D.     The Schroeder Complaint

       On May 27, 2014, the United States District Court for the Eastern District of California

unsealed and thereby publicly disclosed a complaint filed by Adolfo Schroeder, a former

business development manager for Medtronic’s cardiac rhythm business. (Schroeder ECF No.

75). Among other things, Schroeder alleged in his complaint that Medtronic paid in-kind

kickbacks in the form of reimbursement advice and business consulting services, beginning in at

least 2004 and continuing to the present. (Schroeder Compl. ¶¶ 51, 73-75, 81).

               E.     The John Doe Complaint

       On June 20, 2016, the United States District Court for the District of New Jersey

unsealed and thereby publicly disclosed a complaint filed by two anonymous relators, both

identified as practicing cardiologists. (Doe ECF No. 8). The John Doe complaint alleged that

“for several decades through the present,” Medtronic, Boston Scientific, St. Jude Medical, and

Biotronik had engaged in a nationwide scheme of paying kickbacks in the form of “free technical

services in connection with the necessary health monitoring of cardiac patients” with implantable

cardiac rhythm devices. (Doe Compl. ¶ 3). The complaint described device interrogations in

detail, alleging that the average patient has between two and four interrogations performed per

year, and that interrogations are usually performed by device manufacturer personnel for free.

(Doe Compl. ¶¶ 70-77). The relators also alleged two instances in which Medtronic

representatives, one in New Jersey and another in Philadelphia, provided specific reimbursement

advice. (Doe Compl. ¶¶ 110-15, 212-17).


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                F.      The Forney Complaints

        Against this backdrop of extensive, repeated public disclosures, Relator filed her original

complaint in this case on November 20, 2015. (ECF No. 1). The Burns, Onwezen, Stokes, and

Schroeder complaints had all already been publicly disclosed by that time. Relator filed her first

amended complaint on April 3, 2017. (ECF No. 17). The Doe complaint was publicly disclosed

between the filing of Relator’s original and first amended complaints. Following dismissal of

the first amended complaint, Relator filed her second amended complaint (SAC) on July 3, 2017.

(ECF No. 40).

                                     STANDARD OF REVIEW

        Summary judgment is appropriate when the “movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a); see also Ebbert v. DaimlerChrysler Corp., 319 F.3d 103, 108 (3d Cir.

2003). “[W]here the record taken as a whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.” United States ex rel. Bauchwitz v.

Holloman, 671 F. Supp. 2d 674, 683 (E.D. Pa. 2009) (citing Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d. 538 (1986) (internal

quotation marks omitted). The moving party carries the initial burden of demonstrating the

absence of any genuine issues of material fact, and “[o]nce the moving party has produced

evidence in support of summary judgment, the nonmovant must go beyond the allegations set

forth . . . and . . . demonstrate[] there is a genuine issue of fact for trial.” United States ex rel.

Showell v. Philadelphia AFL, CIO Hosp. Ass'n, CIV. A. 98-1916, 2000 WL 424274, at *1 (E.D.

Pa. Apr. 18, 2000), aff'd sub nom. United States ex rel. Showell v. Philadelphia AFL, CIO Hosp.

Ass'n, 275 F.3d 38 (3d Cir. 2001). Summary judgment must be granted “against a party who

fails to make a showing sufficient to establish the existence of an element essential to that party’s


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case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett,

477 U.S. 317, 322 (1986).

                                           ARGUMENT

       The “core purpose” of the qui tam provisions of the FCA is to encourage individuals with

personal knowledge of a concealed fraud to bring suit and thereby notify the government of the

alleged wrongdoing. See, e.g., United States ex rel. Winkelman v. CVS Caremark Corp., 827

F.3d 201, 210 (1st Cir. 2016). Consistent with this purpose, the FCA’s public disclosure bar

strikes a balance between incentivizing whistleblowers to come forward on the one hand, and

blocking suits by “opportunistic late-comers who add nothing to the exposure of the fraud” on

the other. See United States ex rel. Tahlor v. AHS Hosp. Corp., No. 2:08-CV-02042 WJM, 2013

WL 5913627, at *11 (D.N.J. Oct. 31, 2013).

       The pertinent provisions of the public disclosure bar read, “The court shall dismiss an

action or claim under this section, unless opposed by the Government, if substantially the same

allegations or transactions as alleged in the action or claim were publicly disclosed in a Federal

criminal, civil, or administrative hearing in which the Government or its agent is a party . . .

[unless] the person bringing the action is an original source of the information.” 31 U.S.C.

§ 3730(e)(4)(A) (2012). Absent opposition by the government, the public disclosure bar thus

mandates the dismissal of an action if: (1) the public disclosure appears in certain enumerated

sources, including federal hearings to which the United States or its agent was a party; (2) the

public disclosure contains “substantially the same allegations or transactions” as alleged in

relator’s complaint; and (3) the relator is not an “original source.”

       Relator filed her original complaint on November 20, 2015. (ECF No. 1). The statute of

limitations for the FCA is six years, 31 U.S.C. § 3731(b), so the time period at issue in this case

could extend back to November 20, 2009. The current version of the public disclosure bar came


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into effect on March 23, 2010, with the enactment of the Patient Protection and Affordable Care

Act (PPACA). The pre-PPACA version of the public disclosure bar deprived courts of

jurisdiction if: (1) there was a public disclosure of an allegation or clear inference of fraud, (2) in

certain enumerated sources, including civil hearings, (3) the relator’s complaint was “based

upon” the public disclosure; and (4) the relator was not an original source. 31 U.S.C. §

3730(e)(4)(A) (2006); United States ex rel. Zizic v. Q2Adminstrators, LLC, 728 F.3d 228, 233,

239 (3d Cir 2013). In cases where the alleged conduct straddles the PPACA amendment, courts

in the Third Circuit apply the pre-PPACA statute to alleged “pre-amendment conduct and the

amended [statute] to later conduct.” United States ex rel. Moore & Co., P.A. v. Majestic Blue

Fisheries, LLC, 69 F.Supp.3d 416, 423 (D. Del. 2014), rev'd on other grounds, 812 F.3d 294 (3d

Cir. 2015).

       I.      Relator’s Device Check Theory Is Barred by the Public Disclosure Bar.

               A.      Relator’s Device Check Allegations are “Substantially the Same” as
                       the Prior Public Disclosures.

       The theory that Medtronic provided free device checks and other post-implantation

product support as an inducement was publicly disclosed in four separate qui tam complaints, all

of which were unsealed before Relator filed the SAC, and three of which were unsealed before

she commenced this action by filing her original complaint under seal. As with Relator’s theory

here, the central theory in three of these complaints was that free device checks constitute

impermissible remuneration under the AKS. (Onwezen Compl. ¶ 8; Burns Compl. ¶¶ 28, 36, 38;

Doe Compl. ¶¶ 3, 77); (see also Burns ECF No. 5 at 2) (“Medtronic . . . allow[s] cardiologists

who implant [its] pacemaker and defibrillator devices [to] have those devices routinely checked

by the defendant[’s] sales personnel at no charge to the cardiologists.”). All of these prior public

disclosures alleged that Medtronic provided a high volume of free, post-implant product support.



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(Burns Compl. ¶¶ 19, 27, 37; Doe Compl. ¶¶ 74-76, 81-83; Onwezen Compl. ¶¶ 68-77; Stokes

Compl. ¶¶ 15, 53, n.1). These prior complaints all allege continuing conduct. (Onwezen

Compl. ¶¶ 3, 54; Burns Compl. ¶ 28; Stokes Compl. ¶ 63; Doe Compl. ¶ 3). They also disclosed

that this conduct was nationwide. (Burns Compl. ¶ 30; Onwezen ¶¶ 14, 16; Doe Compl. ¶¶ 3,

110-15); see also (Burns ECF No 8. at 2).

       Not only do these earlier complaints allege the same theory as to defendant’s conduct,

they also allege the same evidence when pleading Medtronic’s intent. The Schroeder complaint

introduces the concept that without free services, there was little to distinguish Medtronic’s

products from the competition (Schroeder Compl. ¶ 7)—a sentiment Relator repeated when she

called these devices “off the shelf commodities,” (SAC ¶ 47). The Burns complaint cites the

exact same passage of the AdvaMed Code as Relator cites when arguing that Medtronic knew or

should have known that providing free product support was impermissible. (Burns ¶ 24; SAC ¶

46). Like Relator, Burns also referenced the obscure companion manual to the AdvaMed Code

that Medtronic and certain other cardiac rhythm manufacturers published in 2009. (Burns

Compl. Ex. 4; SAC ¶ 40). Finally, Relator’s inapposite and somewhat odd effort to plead

Medtronic’s earlier corporate integrity agreement as evidence of Medtronic’s knowledge here

was also preceded by the same maneuver in the Onwezen complaint, nearly four years before

Relator’s complaint. (Onwezen Compl. ¶ 6; SAC ¶ 41).

       Since these prior disclosures were all made in unsealed qui tam complaints, they qualify

as public disclosures under the statute. United States ex rel. Paranich v. Sorgnard, 396 F.3d 326,

333 (3d Cir. 2005); United States ex rel. Denis v. Medco Health Sols., Inc., Civ. No. 11-684-

RGA, 2017 WL 4838410, at *5 (D. Del. Oct. 26, 2017). Given the greater detail in these prior

complaints, it is clear that the statutory test – whether the SAC is “substantially the same” – is




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met. Indeed, the SAC is not only “substantially the same,” it is a pale imitation of the

considerable public disclosures that preceded it.

                B.      Relator is Not an Original Source of the Device Check Allegations
                        under the Post-PPACA Public Disclosure Bar.

        Under the current version of the public disclosure bar, there are two ways for a relator to

qualify as an original source. First, a relator is an original source if, “prior to a public

disclosure,” she “has voluntarily disclosed to the Government the information on which

allegations or transactions in a claim are based.” 31 U.S.C. § 3730(e)(4)(B)(i) (2012). Second, a

relator is an original source if she “has knowledge that is independent of and materially adds to

the publicly disclosed allegations or transactions,” and if she “voluntarily provided the

information to the Government before filing an action under this section.” Id. at §

3730(e)(4)(B)(ii). Forney meets neither standard.

        The first standard – disclosing the information underpinning her complaint to the

government before the first public disclosure – is not even arguably applicable here. The first

public disclosure occurred in August 2011, when the Burns complaint was unsealed, back when

Relator was still working for Medtronic and more than four years before she filed her first

complaint. Relator stated at her deposition that she did not provide information to the

government until approximately June 2015. (Ex. L, Forney Tr. at 153:8 – 154:20).

        Relator also fails to qualify as an original source under the second prong, since none of

the information in her complaint or that she provided to the government before filing suit

“materially adds to the publicly disclosed information.” 31 U.S.C. § 3730(e)(4)(B)(ii) (2012).

Information is “material” if it is “significant, influential, or relevant.” Moore, 812 F.3d at 306.

As the Supreme Court recently held, information is material when it is of sufficient importance

to influence the behavior of the recipient. See Universal Health Servs., Inc. v. United States ex



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rel. Escobar, 136 S.Ct. 1989, 2004 (2016). “So to ‘materially add’ to the publicly disclosed

allegation or transaction of fraud, a relator must contribute significant additional information to

that which has been publicly disclosed so as to improve its quality.” Moore, 812 F.3d at 306. A

relator’s addition must be “distinct from what was publicly disclosed” and it must add “in a

significant way to the essential factual background: ‘the who, what, when, where, and how of the

events at issue.’” Id. at 307. Logically, “[a]s the level of detail in public disclosures increases,

the universe of potentially material additions shrinks.” Winkelman, 827 F.3d at 211; see also

Zizic, 728 F.3d at 238 (holding that additional details such as the identity of the particular

employee responsible for a publicly disclosed fraud was “too insubstantial” to qualify the relator

as an original source under the pre-PPACA original source exception).

        “When viewed against the backdrop of information that cumulatively was disclosed”

before Relator filed her operative complaint, Relator does not add “significant unknown details

to the essential factual background of the alleged fraud.” United States ex rel. Freedom

Unlimited, Inc. v. City of Pittsburgh, No. 2:12-cv-1600, 2016 WL 1255294 (W.D. Pa. Mar. 31,

2016). The earlier qui tam complaints alleged that Medtronic provided device checks and other

forms of post-implant product support for free to physicians and hospitals across the country for

decades, as a form of inducement. Relator alleges that these practices also occurred in her

Eastern Pennsylvania district. (SAC ¶¶ 49-50).1 “Offering specific examples of that conduct


      1
        In her deposition, Relator stated that she provided approximately 10 or 12 documents to the government in
June 2015. (Ex. L, Forney Tr. at 153:8 – 154:20). She further stated that to the best of her knowledge all of the
documents she provided to the government were cited in her complaints. (Ex. L, Forney Tr. 256:4-9). Accordingly,
the SAC, as her most detailed complaint, summarizes all of the relevant information that Relator provided to the
government before filing suit.
      Medtronic asked Relator in an interrogatory and at her deposition to convey the substance of any
communications she had with the government. (Ex. N, Relator’s Interrogatory Responses, at 1-2; Ex. L, Forney Tr.
156:2-12). Medtronic also requested the production of all documents provided to the government. (Ex. M,
Relator’s RFP Responses, at 1). Each time, Relator’s counsel objected, asserting various privileges and protections.
(Ex. N, Relator’s Interrogatory Responses, at 2; Ex. L, Forney Tr. 156:13 – 165:6; Ex. M, Relator’s RFP Responses,
at 2). Medtronic advised Relator’s counsel at Ms. Forney’s deposition that it had identified public disclosures that


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does not provide any significant new information where the underlying conduct already has been

publicly disclosed.” Winkelman, 827 F.3d at 212. Accordingly, Relator does not qualify as an

original source as to these allegations, and her complaint should be dismissed with prejudice as a

result.

                  C.       Relator is Not an Original Source of the Device Check Allegations
                           under the Pre-PPACA Public Disclosure Bar.

          Under the pre-PPACA formulation of the original source exception, an original source is

“an individual who has direct and independent knowledge of the information on which the

allegations are based and has voluntarily provided the information to the Government before

filling an action under this section . . . .” 31 U.S.C. § 3730(e)(2)(B). “‘Direct knowledge’ is

knowledge obtained without any ‘intervening agency, instrumentality, or influence: immediate.”

United States ex rel. Atkinson v. Pa. Shipbuilding Co., 473 F.3d 506, 520 (3d Cir. 2007) (quoting

United States ex rel. Stinson, Lyons, Gerlin & Bustamante, P.A. v. Prudential Ins. Co., 944 F.2d

1149, 1160 (3d Cir. 1991)). “‘Independent knowledge’ is knowledge that does not depend on

public disclosures.” Id. (quoting Stinson, 944 F.2d at 1160).

          Relator cannot meet her burden of proving that she has direct and independent knowledge

of any false claims submitted before March 23, 2010. A relator does not qualify as an original

source by having direct and independent knowledge of a supposed kickback scheme, because the

FCA does not prohibit kickback schemes; it prohibits false or fraudulent claims and false records

or statements material thereto. See United States ex rel. Schumann v. AstraZeneca Pharms. L.P.,

769 F.3d 837, 846 (3d Cir. 2014) (“[A] relator was not an original source because it did not have



bar Ms. Forney’s claims, including specifically the Burns complaint that was unsealed in 2011. To the extent Ms.
Forney would rely on any disclosure she made to the government to support an argument that she qualifies as an
original source, that information is not privileged or otherwise protected from disclosure. Regardless, since any such
disclosure is not currently part of the record, it cannot be used to meet Relator’s burden of proving that she qualifies
as an original source.


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direct and independent knowledge of the most critical element of its claims, viz., that the

defendant had made the alleged misrepresentations to the government.” (quoting United States

ex rel. Mistick PBT v. Housing Auth. of the City of Pitt., 186 F.3d 376, 388 (3d Cir. 1999)))

(internal quotation marks and modifications omitted). To qualify as an original source under the

pre-PPACA public disclosure bar, Relator would need to have direct and independent knowledge

of false claims predating March 23, 2010. See id. at 847 (citing United States ex rel. Paranich v.

Sorgnard, 396 F.3d 326, 336 & n. 11 (3d Cir. 2005). Relator does not allege the specifics as to

any false claims that were submitted before that date; the only supposed claims she referenced

were from late 2011. (SAC ¶ 49).2 At best, Relator has a “mere suspicion that there must be a

false or fraudulent claim lurking around here somewhere,” which “simply does not carry [her]

burden of proving that [she] is entitled to original source status.” Schumann, 769 F.3d at 847

(quoting United States ex rel. Vuyyuru v. Jadhav, 555 F.3d 337, 353 (4th Cir. 2009)).

         II.     Relator’s Implant Surgery Theory Is Barred.

         Relator’s complaint primarily concerns post-implantation device checks, but she also

claims that product support during implant surgeries constitutes remuneration under the AKS.

The facts underpinning this theory, however, were also publicly disclosed.

         Back in 2008, the Onwezen complaint alleged that it was “common practice” for

Medtronic personnel to attend implant surgeries “to answer any questions that may arise about

the device, provide guidance about installation and program the device.” (Onwezen Compl. ¶

54). Onwezen elaborated that Medtronic personnel might also “conduct[] an ‘interrogation’ of


     2
       During her deposition, Relator stated that paragraph 49 of the SAC was based on information contained in
Google Calendar records and emails that she accessed and printed after her employment with Medtronic ended. (Ex.
L, Forney Tr. 233:4 – 240:4). She does not have personal knowledge as to whether these procedures or those listed
in paragraph 50 of the SAC were performed as scheduled. (See Ex. L, Forney Tr. 244:8 – 245:18). She also does
not have personal knowledge as to whether any of the associated patients were Medicare beneficiaries, much less
whether any claims were actually submitted. (See Ex. L, Forney Tr. 243:13 – 244:7). Relator is therefore not an
original source of the assertion in the SAC that claims were submitted for all these procedures.


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the device, performing device systems checks and programming the patient’s identifying

information data onto a telemetric (or programming) wand.” (Onwezen Compl. ¶ 54).

Afterward, the Medtronic employee would prepare an “Implant Data Report” and a “Surgical-op

Report.” (Onwezen Compl. ¶ 55). The Stokes complaint concurred that Medtronic personnel

provided these technical services during implant surgeries. (Stokes Compl. ¶ 56).

        The foregoing is significantly more detail than Relator alleged in her complaint or

presumably provided to the government. All Relator said in her complaint was that Medtronic

provided “free surgical support” and “free surgical staffing assistance.” (SAC ¶¶ 47-49). These

statements merely summarize in general, conclusory terms the far more detailed allegations that

had already been publicly disclosed. Relator’s statements add no detail whatsoever – let alone

distinct and material information – and thus do not help her clear the public disclosure bar. See

Moore, 812 F.3d at 306.

        III.    Relator’s Practice Management Theory Is Barred.

        Relator alleged in the complaint that Medtronic taught its employees “how to provide

free consulting services” and offered “free consulting on all sorts of practice management

topics.” (SAC ¶ 37). To the extent that these perfunctory allegations can be said to be a theory of

liability, it is a theory that is “substantially the same” as a prior public disclosure. Specifically,

the Schroeder complaint alleged that Medtronic promoted a “‘turn-key’ heart failure clinic

business solution” that enabled physicians to run profitable heart failure clinics using

Medtronic’s pre-printed forms and templates. (Schroeder Compl. ¶ 81).

        Nor does Relator qualify as an original source as to these allegations. Relator’s reference

to “practice management topics” provides the skeletal outline of a theory of remuneration, while

Schroeder’s more detailed allegations put meat on those bones. Here again, Relator’s allegation

is fully encompassed by, and less specific than, a prior public disclosure If this is an attempt to


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get over the public disclosure bar, Relator is going in the wrong direction. Moore, 812 F.3d at

306; Winkelman, 827 F.3d at 211.

         IV.    Relator’s Administrative Work Theory Is Barred.

         Relator provides two examples of situations in which Medtronic personnel did what

might be regarded as administrative work for customers. First, she alleges, with no supporting

details, that she wrote a spreadsheet to help a hospital track remote monitoring patients. (SAC ¶

32). Second, she says two unidentified clinical specialists entered data for two hospitals. (SAC

¶ 33).

         Both of these types of allegations were publicly disclosed in the Onwezen complaint.

Indeed, the Onwezen complaint that Medtronic personnel systematically handled all aspects of

the remote monitoring and billing processes for its customers. (Onwezen Compl. ¶¶ 78-82, 95-

104). Regarding remote monitoring, Onwezen alleged that since 2002 Medtronic personnel had

used the CareLink remote monitoring system “to handle almost all aspects of the patient’s

medical follow-up care, without a licensed physician or staff member present.” (Id.at ¶ 100).

Similarly, Onwezen alleged that Medtronic representatives handled “all of the paper-work

related to billing for implant patients.” (Onwezen ¶ 79).

         In light of Onwezen’s sweeping allegation of systematic misconduct involving remote

monitoring, no reasonable person would consider Relator’s claim that she once completed a

remote-monitoring spreadsheet to be a material addition. See Moore, 812 F.3d at 306. (“[A]

relator must contribute significant additional information to that which has been publicly

disclosed so as to improve its quality.”) Likewise, Relator’s claim that she knows of two sales

representatives who entered data for hospitals is but part and parcel of Onwezen’s broad

allegations. To the extent that Relator’s allegations regarding administrative work could




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constitute an independent theory of liability on their own, Relator does not qualify as an original

source of these allegations and they are barred.

       V.      Relator’s Reimbursement Guidance Theory Is Barred.

       In one paragraph of the SAC, Relator alleged that Medtronic taught health care providers

how to “maximize[e]” their reimbursement payments through a program called PRO/CV. (SAC

¶ 34). This scant allegation from Relator is “substantially the same” as the allegations in the

publicly disclosed qui tam complaints. Like Relator, Schroeder alleged that Medtronic’s

reimbursement guidance and consulting constituted in-kind remuneration under the AKS.

(Schroeder Compl. ¶ 51). He also alleged that the objective of such guidance was to teach health

care providers how “to maximize Medicaid and Medicare billing.” (Id. at ¶ 72). He then went

far beyond the SAC, describing billing seminars, pre-filing billing review, detailed billing

instructions, and specific business plans for teaching health care providers how to maximize their

profits from reimbursement. (Id. at ¶¶ 72-76). The scope of these programs was articulated by

Stokes, who alleged that he personally provided reimbursement advice in 300 hospitals across 40

states. (Stokes Compl. ¶ 59). The Doe and Onwezen complaints provided additional examples

of situations in which Medtronic personnel provided advice on how to maximize reimbursement.

(Doe Compl. ¶¶ 110-15, 212-17; Onwezen Compl. ¶¶ 75, 87-88).

       Relator’s only contribution to this significant body of publicly disclosed allegations was

to identify the brand name—PROC/CV—that would later be given to an alleged reimbursement

consulting initiative. Such trivia does not add “in a significant way to the essential factual

background.” Moore, 812, F.3d at 307. Accordingly, Relator does not qualify as an original

source of these allegations, and they are barred.




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                                       CONCLUSION

       For all of the foregoing reasons, this case should dismissed, and judgment should be

entered for Medtronic on all counts.


                                            Respectfully submitted,


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